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                                             Exhibit 6



 Kirk McDonald
 4059 W. Hillside Pl.
 Littleton, Colorado 80123
 (720)-589-3160
 Kirkmcdonald56@gmail.com

 February 24, 2020

 Mitch Brown MPH, REHS
 Supervisor Environmental Health
 Jefferson County
 100 Jefferson County Parkway
 Golden, Colorado 80127

 Dear Mr. Brown

 Under the Colorado Open Records Law § 24-72-201 et seq., I am requesting an opportunity to
 inspect or obtain copies of public records of any and all complaints filed in your office against
 myself and the farm/agricultural property known as 14309 Elk Mountain Trail, Littleton,
 Colorado 80127.

 If there are any fees for searching or copying these records, please inform me if the cost will
 exceed $ 100.00. However, I would also like to request a waiver of all fees in that the disclosure
 of the requested information is in the public interest and will contribute significantly to the
 public’s understanding of urban farming.

 The statute requires a response to this request within three days following receipt of this letter
 with name and address of complainant. If access to the records I am requesting will take longer,
 please contact me with information about when I might expect copies or the ability to inspect the
 requested records.

 If you deny any or all of this request, please cite each specific exemption you feel justifies the
 refusal to release the information and notify me of the appeal procedures available to me under
 the law.

 Thank you for considering my request.

 Sincerely,
 Kirk McDonald - Owner; The Vine Ranch
 Director of Policy – Mile High Farmers/Rocky Mountain Farmers Union
 Mile High Farmers
 Colorado Fruit & Vegetables Growers Association
 National Fruit Growers Association
 National Young Farmers Coalition
